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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION

BRENDA RHAMES,                                §
                                              §
                      Plaintiff,              §
                                              §
v.                                            §          Civil Action No. 7:17-cv-009-O
                                              §
UNITED STATES OF AMERICA, et al.,             §
                                              §
                      Defendants.             §

                                          JUDGMENT

         This action came on for consideration by the Court, and the issues having been duly

considered and decisions duly rendered,

         It is ORDERED, ADJUDGED, and DECREED that Defendants’ Motion to Dismiss, or,

in the Alternative, Motion for Summary Judgment (ECF No. 206) is GRANTED and this action is

DISMISSED with prejudice.

         Alternatively, this action is DISMISSED with prejudice as MOOT.

         SO ORDERED this 12th day of April, 2019.



                                                  _____________________________________
                                                  Reed O’Connor
                                                  UNITED STATES DISTRICT JUDGE
